Case 16-10738-mdc   Doc 108-3 Filed 03/28/18 Entered 03/28/18 09:10:56   Desc
                        Loan Documents Page 1 of 24
Case 16-10738-mdc   Doc 108-3 Filed 03/28/18 Entered 03/28/18 09:10:56   Desc
                        Loan Documents Page 2 of 24
Case 16-10738-mdc   Doc 108-3 Filed 03/28/18 Entered 03/28/18 09:10:56   Desc
                        Loan Documents Page 3 of 24
Case 16-10738-mdc   Doc 108-3 Filed 03/28/18 Entered 03/28/18 09:10:56   Desc
                        Loan Documents Page 4 of 24
Case 16-10738-mdc   Doc 108-3 Filed 03/28/18 Entered 03/28/18 09:10:56   Desc
                        Loan Documents Page 5 of 24
Case 16-10738-mdc   Doc 108-3 Filed 03/28/18 Entered 03/28/18 09:10:56   Desc
                        Loan Documents Page 6 of 24
Case 16-10738-mdc   Doc 108-3 Filed 03/28/18 Entered 03/28/18 09:10:56   Desc
                        Loan Documents Page 7 of 24
Case 16-10738-mdc   Doc 108-3 Filed 03/28/18 Entered 03/28/18 09:10:56   Desc
                        Loan Documents Page 8 of 24
Case 16-10738-mdc   Doc 108-3 Filed 03/28/18 Entered 03/28/18 09:10:56   Desc
                        Loan Documents Page 9 of 24
Case 16-10738-mdc   Doc 108-3 Filed 03/28/18 Entered 03/28/18 09:10:56   Desc
                        Loan Documents Page 10 of 24
Case 16-10738-mdc   Doc 108-3 Filed 03/28/18 Entered 03/28/18 09:10:56   Desc
                        Loan Documents Page 11 of 24
Case 16-10738-mdc   Doc 108-3 Filed 03/28/18 Entered 03/28/18 09:10:56   Desc
                        Loan Documents Page 12 of 24
Case 16-10738-mdc   Doc 108-3 Filed 03/28/18 Entered 03/28/18 09:10:56   Desc
                        Loan Documents Page 13 of 24
Case 16-10738-mdc   Doc 108-3 Filed 03/28/18 Entered 03/28/18 09:10:56   Desc
                        Loan Documents Page 14 of 24
Case 16-10738-mdc   Doc 108-3 Filed 03/28/18 Entered 03/28/18 09:10:56   Desc
                        Loan Documents Page 15 of 24
Case 16-10738-mdc   Doc 108-3 Filed 03/28/18 Entered 03/28/18 09:10:56   Desc
                        Loan Documents Page 16 of 24
Case 16-10738-mdc   Doc 108-3 Filed 03/28/18 Entered 03/28/18 09:10:56   Desc
                        Loan Documents Page 17 of 24
Case 16-10738-mdc   Doc 108-3 Filed 03/28/18 Entered 03/28/18 09:10:56   Desc
                        Loan Documents Page 18 of 24
Case 16-10738-mdc   Doc 108-3 Filed 03/28/18 Entered 03/28/18 09:10:56   Desc
                        Loan Documents Page 19 of 24
Case 16-10738-mdc   Doc 108-3 Filed 03/28/18 Entered 03/28/18 09:10:56   Desc
                        Loan Documents Page 20 of 24
Case 16-10738-mdc   Doc 108-3 Filed 03/28/18 Entered 03/28/18 09:10:56   Desc
                        Loan Documents Page 21 of 24
Case 16-10738-mdc   Doc 108-3 Filed 03/28/18 Entered 03/28/18 09:10:56   Desc
                        Loan Documents Page 22 of 24
Case 16-10738-mdc   Doc 108-3 Filed 03/28/18 Entered 03/28/18 09:10:56   Desc
                        Loan Documents Page 23 of 24
Case 16-10738-mdc   Doc 108-3 Filed 03/28/18 Entered 03/28/18 09:10:56   Desc
                        Loan Documents Page 24 of 24
